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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO
  UNITED STATES OF AMERICA,
  Plaintiff,
                                                     CRIMINAL NO. 22-342 (SCC)
            v.

  [1] WANDA VÁZQUEZ GARCED,
  [2] JULIO M. HERRERA VELUTINI,
  [3] MARK T. ROSSINI,
  Defendants.


                                DESIGNATION OF EVIDENCE

       The United States of America provides the following designation of evidence in

compliance with the Court’s Order and in accordance with Rule 12(b)(4)(B).

                                    Relevant Legal Authority

       Rule 12 of the Federal Rules of Criminal Procedure provides, in relevant part, that “the

defendant may, in order to have an opportunity to move to suppress evidence under Rule

12(b)(3)(C), request notice of the government’s intent to use (in its evidence-in-chief at trial) any

evidence that the defendant may be entitled to discovery under Rule 16.” The Advisory

Committee’s Note accompanying this Rule makes it clear that the Rule’s purpose is to ensure a

defendant “can make his motion to suppress prior to trial” by “request[ing] the government to give

notice of its intention to use specified evidence which the defendant is entitled to discovery under

Rule 16.” Rule 12, Fed. R. Crim. P. Advisory Committee’s note. The government’s obligation

ends when it has made disclosures that sufficiently allow the defendant to make informed decisions

about motions to suppress evidence. “Rule 12(d) was not designed to aid the defendant in




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ascertaining the government’s trial strategy, but only in effectively bringing suppression motions

before trial.” United States v. de la Cruz-Paulino, 61 F.3d 986, 994 (1st Cir. 1995). 1

          “Put differently, defendants cannot invoke Rule 12(b)(4)(B) to force the government to

decide precisely which documents provided in discovery it will offer at trial and to prevent it from

using any that it does not so designate as a matter of trial tactics.” United States v. Ishak, 277

F.R.D. 156, 159 (E.D.V.A. 2011) (quoting United States v. El-Silimy, 228 F.R.D. 52, 57 (D. Me.

2005)).

          Notwithstanding the above, the United States has sought to provide a comprehensive list

of evidence it intends to admit at trial.

                                  United States’s Designation of Evidence

          The United States designates all the evidence below, which has been disclosed to the

defendants in the discovery process, and reserves the right to add or delete items from this

designation. Further, the United States has described persons herein via initials or other identifiers.

The identities of the persons are known to defendants as a result of their possession of the discovery

and documents described herein.

    1. All content from John Blakeman’s cellphone responsive to the corresponding search

          warrant and that supports the facts underlying Counts One, Two, Three and Four of the

          Indictment.

    2. All content obtained from Frances Diaz’s cellphones responsive to the corresponding

          search warrant and that supports the facts underlying Counts One, Two, Three and Four of

          the Indictment.



1
 Consistent with this legal authority, the United States reserves the right to introduce evidence not specifically listed
herein. The United States respectfully requests that the Court set a deadline for all parties to provide exhibit lists and
exhibit binders at least three weeks prior to trial.

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3. All content from Individual A’s cellphone responsive to the corresponding search warrant

   and that supports the facts underlying Counts One, Two, Three and Four of the Indictment.

4. All content from Individual B’s cellphone responsive to the corresponding search warrant

   and that supports the facts underlying Counts One, Two, Three and Four of the Indictment.

5. All content from Defendant Julio M. Herrera Velutini’s Apple Account responsive to the

   corresponding search warrant and that supports the facts underlying Counts One, Two,

   Three and Four of the Indictment.

6. All content from Defendant Julio M. Herrera Velutini’s Yahoo Account responsive to the

   corresponding search warrant and that supports the facts underlying Counts One, Two,

   Three and Four of the Indictment.

7. All content from Defendant Mark T. Rossini’s Apple Account responsive to the

   corresponding search warrant and that supports the facts underlying Counts One, Two,

   Three and Four of the Indictment.

8. All content from Defendant Mark T. Rossini’s Google Account responsive to the

   corresponding search warrant and that supports the facts underlying Counts One, Two,

   Three and Four of the Indictment.

9. All content from Defendant Wanda Vazquez Garced’s phone responsive to the

   corresponding search warrant and that supports the facts underlying Counts One, Two,

   Three and Four of the Indictment.

10. All content from Defendant Wanda Vazquez Garced’s Apple Account responsive to the

   corresponding search warrant and that supports the facts underlying Counts One, Two,

   Three and Four of the Indictment.




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11. Bank records from JP Morgan, PNC Bank , Barclay’s, and HSBC responsive to the

   corresponding search warrant and that support the facts underlying Counts One, Two,

   Three and Four of the Indictment, including the payment of political consulting services to

   benefit Vazquez's election campaign.

12. Records obtained from Individual C that supports the facts underlying Counts One, Two,

   Three and Four of the Indictment.

13. Records obtained from International Consulting Firm that supports the facts underlying

   Counts One, Two, Three and Four of the Indictment.

14. Records obtained from Political Consultant A that supports the facts underlying Counts

   One, Two, Three and Four of the Indictment.

15. Records obtained from the political consultant J.C. that support the facts underlying Counts

   One, Two, Three and Four of the Indictment.

16. Records obtained from Frances Diaz that support the facts underlying Counts One, Two,

   Three and Four of the Indictment.

17. Records obtained from Wanda Vazquez’s Chief of Staff that support the facts underlying

   Counts One, Two, Three and Four of the Indictment.

18. Records obtained from Wanda Vazquez’s Secretary of Public Affairs that support the facts

   underlying Counts One, Two, Three and Four of the Indictment.

19. Records of The Bank and the Holding Corporation, identified in paragraphs 5 and 6 of the

   Indictment, that support the facts underlying Counts One, Two, Three and Four of the

   Indictment.

20. Records of MTR Associates that support the facts underlying Counts One, Two, Three and

   Four of the Indictment.



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